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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 HECTOR CORDERO,
                                                                       FIRST AMENDED
                                           Plaintiff,                  COMPLAINT
                            -against-                                  15 CV 3436 (JBW)(MDG)
 CITY OF NEW YORK; Police Officer HUGO                                 Jury Trial Demanded
 HUGASIAN, Shield No. 10228; Lieutenant
 CHRISTOPHER MORAN; Police Officer PAUL
 PALMINTERI, Shield No. 18460; Police Officer
 MARCO ARTALE, Shield No. 25158; Police
 Officer PETER RUBIN, Shield No. 00934; Police
 Officer JOHN ESSIG, Shield No. 08667; Officer
 LYNETTE REYES, Shield No. 26626; Police
 Officer RAUL NAREA, Shield No. 07493; JOHN
 and JANE DOE 1 through 10, individually and in
 their official capacities (the names John and Jane
 Doe being fictitious, as the true names are presently
 unknown),
                                           Defendants.
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                                 NATURE OF THE ACTION
           1.    This is an action to recover money damages arising out of the violation

 of plaintiff’s rights under the Constitution.

                                JURISDICTION AND VENUE

           2.    This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

 Fourth, Fifth, Sixth and Fourteenth Amendments to the Constitution of the United

 States.
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         3.    The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331 and

 1343.

         4.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).

                                     JURY DEMAND
         5.    Plaintiff demands a trial by jury in this action.

                                         PARTIES
         6.    Plaintiff Hector Cordero (“plaintiff” or “Mr. Cordero”) is a resident of

 Kings County in the City and State of New York.

         7.    Defendant City of New York is a municipal corporation organized under

 the laws of the State of New York. It operates the NYPD, a department or agency of

 defendant City of New York responsible for the appointment, training, supervision,

 promotion and discipline of police officers and supervisory police officers, including

 the individually named defendants herein.

         8.    Defendant Police Officer Hugo Hugasian, Shield No. 10228

 (“Hugasian”), at all times relevant herein, was an officer, employee and agent of the

 NYPD. Defendant Hugasian is sued in his individual and official capacities.

         9.    Defendant Lieutenant Christopher Moran, (“Moran”), at all times

 relevant herein, was an officer, employee and agent of the NYPD. Defendant Moran

 is sued in his individual and official capacities.


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        10.    Defendant Police Officer Paul Palminteri, Shield No. 18460

 (“Palminteri”), at all times relevant herein, was an officer, employee and agent of the

 NYPD. Defendant Palminteri is sued in his individual and official capacities.

        11.    Defendant Police Officer Marco Artale, Shield No. 25158 (“Artale”), at

 all times relevant herein, was an officer, employee and agent of the NYPD. Defendant

 Artale is sued in his individual and official capacities.

        12.    Defendant Police Officer Peter Rubin, Shield No. 00934 (“Rubin”), at

 all times relevant herein, was an officer, employee and agent of the NYPD. Defendant

 Rubin is sued in his individual and official capacities.

        13.    Defendant Police Officer John Essig, Shield No. 08667 (“Essig”), at all

 times relevant herein, was an officer, employee and agent of the NYPD. Defendant

 Essig is sued in his individual and official capacities.

        14.    Defendant Police Officer Lynette Reyes, Shield No. 26626 (“Reyes”), at

 all times relevant herein, was an officer, employee and agent of the NYPD. Defendant

 Reyes is sued in her individual and official capacities.

        15.    Defendant Police Officer Raul Narea, Shield No. 07493 (“Raul”), at all

 times relevant herein, was an officer, employee and agent of the NYPD. Defendant

 Raul is sued in his individual and official capacities.

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        16.     At all times relevant defendants John and Jane Doe 1 through 10 were

 police officers, detectives or supervisors employed by the NYPD. Plaintiff does not

 know the real names and shield numbers of defendants John and Jane Doe 1 through

 10.

        17.     At all times relevant herein, defendants John and Jane Doe 1 through 10

 were acting as agents, servants and employees of the City of New York and the

 NYPD. Defendants John and Jane Doe 1 through 10 are sued in their individual and

 official capacities.

        18.     At all times relevant herein, all individual defendants were acting under

 color of state law.

                               STATEMENT OF FACTS
        19.     At approximately 1:00 p.m. on October 24, 2014, Mr. Cordero was

 working inside of a bodega at 42 Irving Place in Brooklyn, New York.

        20.     Defendants entered the bodega where Mr. Cordero was working and

 ordered him to go outside.

        21.     Mr. Cordero complied and followed defendants outside of the bodega.

        22.     Suddenly and without probable cause or reasonable suspicion to believe

 he had committed any crime or offense, defendants arrested Mr. Cordero and tightly

 handcuffed him.

        23.     When Mr. Cordero asked what was going on, defendants did not
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 respond.

       24.     Mr. Cordero was taken to the 83rd Precinct.

       25.     At the Precinct, defendants performed an illegal strip-search of plaintiff.

       26.     Defendants falsely informed employees of the Kings County District

 Attorney’s Office that they had observed plaintiff commit several crimes including

 criminal sale of a controlled substance, a felony.

       27.     At no point did the officers observe Mr. Cordero commit any crime or

 offense.

       28.     Plaintiff was eventually taken to Brooklyn Central Booking.

       29.     On October 25, 2015, Mr. Cordero was arraigned in Kings County

 Criminal Court and then released on his own recognizance after approximately twelve

 hours in custody.

       30.     After appearing in criminal court on several occasions, all charges against

 Mr. Cordero were dismissed on March 4, 2015.

       31.     Mr. Cordero suffered damage as a result of defendants’ actions. Plaintiff

 was deprived of his liberty, suffered emotional distress, mental anguish, fear, pain,

 anxiety, embarrassment, humiliation, an unlawful strip search and damage to his

 reputation.




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                                    FIRST CLAIM
                                Unlawful Stop and Search

       32.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       33.       Defendants violated the Fourth and Fourteenth Amendments because

 they stopped and searched plaintiff without reasonable suspicion.

       34.       As a direct and proximate result of this unlawful conduct, plaintiff

 sustained the damages herein before alleged.

                                    SECOND CLAIM
                                      False Arrest

       35.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       36.       Defendants violated the Fourth and Fourteenth Amendments because

 they arrested plaintiff without probable cause.

       37.       As a direct and proximate result of this unlawful conduct, plaintiff

 sustained the damages hereinbefore alleged.




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                                     THIRD CLAIM
                                   Malicious Prosecution

       38.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       39.       By their conduct, as described herein, and acting under color of state

 law, defendants are liable to plaintiff under 42 U.S.C. § 1983 for the violation of his

 constitutional right to be free from malicious prosecution under the Fourth and

 Fourteenth Amendments to the United States Constitution.

       40.       Defendants’ unlawful actions were done willfully, knowingly, with malice

 and with the specific intent to deprive plaintiff of his constitutional rights. The

 prosecution by defendants of plaintiff constituted malicious prosecution in that there

 was no basis for the plaintiff’s arrest, yet defendants continued with the prosecution,

 which was resolved in plaintiff’s favor.

       41.       As a direct and proximate result of the misconduct and abuse of

 authority stated above, plaintiff sustained the damages alleged herein.

                                  FOURTH CLAIM
                      Denial Of Constitutional Right To Fair Trial
       42.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       43.       The individual defendants created false evidence against plaintiff.


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       44.       The individual defendants forwarded false evidence to prosecutors in the

 Kings County District Attorney’s office.

       45.       In creating false evidence against plaintiff, and in forwarding false

 information to prosecutors, the individual defendants violated plaintiff’s right to a fair

 trial under the Due Process Clause of the Fifth, Sixth and Fourteenth Amendments of

 the United States Constitution.

       46.       As a direct and proximate result of this unlawful conduct, plaintiff

 sustained the damages hereinbefore alleged.

                                     FIFTH CLAIM
                                   Failure To Intervene
       47.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       48.       Those defendants that were present but did not actively participate in the

 aforementioned unlawful conduct observed such conduct, had an opportunity prevent

 such conduct, had a duty to intervene and prevent such conduct and failed to

 intervene.

       49.       Accordingly, the defendants who failed to intervene violated the Fourth,

 Fifth, Sixth and Fourteenth Amendments.

       50.       As a direct and proximate result of this unlawful conduct, plaintiff

 sustained the damages hereinbefore alleged.
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                                       SIXTH CLAIM
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       51.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       52.       This is not an isolated incident.

       53.       The City of New York (the “City”), through policies, practices and

 customs, directly caused the constitutional violations suffered by plaintiff.

     54.         The City, through its police department, has had and still has hiring

 practices that it knows will lead to the hiring of police officers lacking the intellectual

 capacity and moral fortitude to discharge their duties in accordance with the

 constitution and is indifferent to the consequences.

       55.       The City, through its police department, has a de facto quota policy that

 encourages unlawful stops, unlawful searches, false arrests, the fabrication of evidence

 and perjury.

       56.       The City, at all relevant times, was, upon information and belief, aware

 that these individual defendants routinely commit constitutional violations such as

 those at issue here and has failed to change its policies, practices and customs to stop

 this behavior.




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       57.    The City, at all relevant times, was aware that these individual defendants

 are unfit officers who have previously committed the acts alleged herein and/or have

 a propensity for unconstitutional conduct.

       58.    As a direct and proximate result of this unlawful conduct, plaintiff

 sustained the damages hereinbefore alleged.




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                              PRAYER FOR RELIEF

       WHEREFORE, plaintiff respectfully requests judgment against defendants as

 follows:

       (a) Compensatory damages against all defendants, jointly and severally;

       (b) Punitive damages against the individual defendants, jointly and severally;

       (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

       (d) Such other and further relief as this Court deems just and proper.

 Dated:      November 30, 2015
             New York, New York

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